                 Case 2:18-bk-21696-VZ                     Doc 80 Filed 04/15/19 Entered 04/15/19 17:16:14                                      Desc
                                                            Main Document     Page 1 of 2
Fill in this information to identify your case:

                  Agapito Palad Baroma
Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name
                  Nona Baroma
Debtor 2           ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        ______________________
United States Bankruptcy Court for the:Central District of California District of __________
                                                                                   (State)
Case number         ___________________________________________                                                                                      Check if this is an
 (If known)                                                                                                                                          amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                               12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
      creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                         Surrender the property.                           No
          name:           Specialized Loan Servicing
                                                                                             Retain the property and redeem it.                Yes
         Description of          950 Verdugo Circle Drive
         property
                                                                                        ✔    Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                             Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s        Wells Fargo Dealer Services                                       Surrender the property.                       ✔   No
         name:
                                                                                             Retain the property and redeem it.                Yes
         Description of          2008 Range Rover Sport
         property
                                                                                        ✔    Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                             Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s      Specialized Loan Servicing                                          Surrender the property.                           No
         name:
                                 950 Verdugo Circle Drive                                    Retain the property and redeem it.            ✔   Yes
         Description of
         property
                                                                                        ✔    Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                             Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                          Surrender the property.                           No
         name:
                                                                                             Retain the property and redeem it.                Yes
         Description of
         property                                                                            Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                             Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108                            Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
Case 2:18-bk-21696-VZ   Doc 80 Filed 04/15/19 Entered 04/15/19 17:16:14   Desc
                         Main Document     Page 2 of 2
